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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §   Criminal No. 3:07-CR-168-L
                                                  §
JUAN CRUZ PUERTA (5)                              §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be

accepted. Based upon the Report of the Magistrate Judge the court finds that the defendant is fully

competent and capable of entering an informed plea, that the defendant is aware of the nature of the

charge and the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea,

supported by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Juan Cruz Puerta on

December 18, 2007, and he is hereby adjudged guilty of the offense charged in Count One of the

Information, which is a violation of 21 U.S.C. § 841(a)(1), namely, possession with intent to

distribute less than 100 grams of a mixture and substance containing a detectable amount of heroin.

Sentence will be imposed in accordance with the court's scheduling order.




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        It is so ordered this 15th day of January, 2008.



                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




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